IN THE DISTRICT COURT OF THE UNITED STATES
DISTRICT OF SOUTH CAROLINA
CHARLESTON. DIVISION

 

UNITED STATES OF AMERICA _ ) » ALY OR. 59 Vo
\
7

)  S0US.C. $1705
vs. ) 31 CFR. Part 560
)
) INDICTMENT (SEALED)
DAVID STONE )
COUNT 1
THE GRAND JURY CHARGES:

At all times material to this Indictment:
Defendant
1. Defendant DAVID STONE was an American citizen residing in South Carolina
and was president of Stone Aviation International.
2. The International Emergency Economic Powers Act. ("IEEPA"), 50 USC.
§§ 1701 ~ 1706, gives the President of the United States broad authority. to regulate exports and
other international transactions in times of national emergency. IEEPA controls are triggered by

an executive order declaring a national emergency based on an "unusual and extraordinary

 

threat, which has its source in whole or substantial part outside the United States, to the national
security, foreign policy, or economy of the United States." Executive orders issued pursuant to
IEEPA may impose broad trade restrictions against a particular country ‘that are more
‘comprehensive than standard export controls and typically restrict U.S. persons from engaging in
a broad range of transactions involving the offending foreign government or its nationals, unless

specific government authorization is obtained in advance.

 
3. On March 15, 1995, the President issued Executive Order 12959, which continued

 

government of Iran. The executive order was issued based on presidential findings that the

 

policies and actions of the government of Iran constitute a threat to the national security of the
United States due to Iran's support of international terrorism and its attempts to acquire weapons
of mass destruction. The same or similar presidential findings have been made each successive
year, up to the present date.

4. . On May 6, 1995, under executive IEEPA authotity, the President declared a trade
embargo against Iran, prohibiting the export from the United States to Iran of any goods,

technology or services, with limited exceptions for publications, other informational materials,

 

and donated articles such as medical supplies intended to relieve human suffering. On August
17, 1997, the President reiterated and renewed the embargo by issuing Executive Order 13059,
which remained in effect during the period of the instant offense.

5. In September 1995, the United States Department of the Treasury, Office of
Foreign Assets Control OFAC”), issued regulations implementing the executive order and
trade embargo (now named the "Iranian Transactions and Sanctions Regulations’ or "ITSR").

See 31 C.F.R. § 560 et seq. With certain limited exceptions not applicable here, the ITSR

 

prohibit, among other things, the export, re-export, sale, oF supply, directly or indirectly, from
the United States or by a United States person wherever located, to Iran or the Government of
Iran, of any goods, technology, or services, without prior authorization from OFAC, located in
Washington, D.C.

6. The Iran Trade Embargo and the ITSR' were in effect, publicly issued, and widely

reported at all times relevant to this indictment.
7. At all times relevant to this indictment, neither DAVID STONE nor Stone

 

to export goods, technology, or services, of any description, to Iran.
| Services to Iran

8. From. on or about October 3, 2009. and continuing through on or about August 4,
2010, DAVID STONE, from within the District of South Carolina, did knowingly and willfully
violate the embargo against Iran by providing a service to.a citizen of Iran, located in Iran. That
is, DAVID STONE acted as a broker to assist an Iranian with the purchase of four (4)
helicopters without obtaining a license from OFAC,

In violation of Title 50, United States Code, Section 1705 and Title 31, Code of Federal

 

Regulations, Parts 560.204 and 560.416.

AL Prue ____ BILL

 

 

WILLIAM N. NETTLES (sk)

 

UNITED STATES ATTORNEY:

 
